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_____________________________________________________________________________________

                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA

United States of America                                   Case No. 4:21-cr-357-SAL
                                                             USM No. 52498-509

v.


Rebecca Dawn Hildreth,


Date of Original Judgment: 2/15/2022              Jeremy A. Thompson
Date of Previous Amended Judgment:                Defendant’s Attorney



 ORDER REGARDING MOTION FOR SENTENCE REDUCTION PURSUANT TO 18
                        U.S.C. § 3582(c)(2)
        Upon motion of the defendant under 18 U.S.C. § 3582(c)(2) for a reduction in the term of
imprisonment based on a guideline sentencing range that has subsequently been lowered and made
retroactive by the United States Sentencing Commission, pursuant to 28 U.S.C. § 944(u), and
having considered such motion, and taking into account the policy statement set forth at U.S.S.G.
§ 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent applicable, and
with consent of the government,
       IT IS ORDERED that the defendant’s consent motion, ECF No. 433, is GRANTED.
       The defendant’s previously imposed sentence of 134 months is reduced to 118 months.
       Except as otherwise provided, all provisions of the judgment dated February 15, 2022
remain in effect.
       The EFFECTIVE DATE of this order is stayed up to 10 days so that the Federal Bureau of
Prisons shall have adequate time to complete any necessary release planning.
       IT IS SO ORDERED.



July 8, 2024                                         Sherri A. Lydon
Columbia, South Carolina                             United States District Judge
